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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             Civil Case Number: 0:18-cv-62593-DPG

                                                  :
  Federal Trade Commission,                       :
                                                  :
                        Plaintiff,                :
  vs.                                             :
                                                  :
  Simple Health Plans, LLC et al.,                :
                                                  :
                        Defendant.                :
                                                  :
                                                  :

         AMANDRA HICKS’ UNOPPOSED MOTION FOR EXTENSION OF TIME

         Amandra Hicks, by and through the undersigned counsel, respectfully requests an

  extension of time through and including April 19, 2019, within which she may respond to the

  Motion for Order Directing Homer Bonner Jacobs, P.A., to Turn Over Settlement Funds to

  Receiver (“Motion to Turn Over Settlement Funds”) (Doc. No. 90). In support, Hicks states as

  follows:

         1.     On March 29, 2019, three weeks after it was filed, the Receiver served on counsel

  for Hicks a copy of its Motion to Turn Over Settlement Funds.

         2.     The Settlement Funds at issue arise from a Settlement Agreement between Hicks

  and Simple Health Plans, LLC. Before the receivership commenced, the Settlement Funds

  became the lawful possession of Hicks. Hicks seeks to oppose the Receiver’s motion and to

  submit such pleading by April 19, 2019.

         3.     Pursuant to Local Rule 7.1(a)(3), counsel for Hicks has conferred with counsel for

  the Receiver, who consents to the response date of April 19, 2019.
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         WHEREFORE, Hicks respectfully requests that the Court permit an extension of time for

  Hicks to file a response to the Motion to Turn Over Settlement Funds (Doc. No. 90), up to and

  including April 19, 2019.

  Dated: April 9, 2019

                                             Respectfully submitted,

                                             By: /s/ Janelle A. Weber
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on April 9, 2019, a true and correct copy of the foregoing Motion

  was served electronically on counsel of record via Electronic Document Filing System (ECF)

  and that the document is available on the ECF system.



                                                     /s/ Janelle A. Weber
                                                     Janelle A. Weber




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